Case: 4:25-cr-00185-JRA Doc #:1 Filed: 04/16/25 1 of 2. PagelD #: 1

FILED
APR 16 2025

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, INDICTMENT

Plaintiff,

)
)
) .
v. ) casewo.4 225 CR 00185
3
)

Title 21, United States Code,
Section 841(a)(1), (b)(1)(B),

“IUBGE AD

(Possession with Intent to Distribute Cocaine, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

NAZZARION BATTEE-DIGGS,

Defendant.

AMS

The Grand Jury charges:

1. On or about January 10, 2025, in the Northern District of Ohio, Eastern Division,
Defendant NAZZARION BATTEE-DIGGS did knowingly and intentionally possess with intent
to distribute a mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
(b)(1)(C).

COUNT 2
(Possession with Intent to Distribute Fentanyl, Cocaine, and Heroin,
21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
The Grand Jury further charges:
2. On or about January 10, 2025, in the Northern District of Ohio, Eastern Division,

Defendant NAZZARION BATTEE-DIGGS did knowingly and intentionally possess with intent

_ to distribute a mixture and substance containing detectable amounts of fentanyl, a Schedule II
Case: 4:25-cr-00185-JRA Doc #:1 Filed: 04/16/25 2 of 2. PagelD #: 2

controlled substance, cocaine, a Schedule II controlled substance, and heroin, a Schedule I
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)U)O).

COUNT 3
(Possession with Intent to Distribute Methamphetamine, 21 U.S.C. §§ 841(a)(1) and (b)(1)(B))

The Grand Jury further charges:

3. On or about January 10, 2025, in the Northern District of Ohio, Eastern Division,
Defendant NAZZARION BATTEE-DIGGS did knowingly and intentionally possess with intent
to distribute 50 grams of more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(B).

FORFEITURE
The Grand Jury further charges:

4, For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853, the allegations of Counts | through 3 are incorporated herein by reference. As a
result of the foregoing offenses, Defendant NAZZARION BATTEE-DIGGS shall forfeit to the
United States any and all property constituting or derived from any proceeds he obtained directly
or indirectly as a result of such violations; and any and all of his property used or intended to be

used in any manner or part to commit or to facilitate the commission of such violations.
A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
